Case 1:21-cv-20418-CMA Document 27-2 Entered on FLSD Docket 04/28/2021 Page 1 of 8




                                   SETTLEMENT AGREEMENT

                 WHEREAS, Ricky Aguilera, his heirs, executors, administrators, representatives,
   successors, and assignees (collectively referred to throughout this Settlement Agreement
    Aguilera has asserted a claim against The Greens and Flowers Connection, LLC, Jonathan A.
   Nunez, and Jonathan L. Valladares

                 WHEREAS, Aguilera has filed a Complaint against Defendants pending in the
   United States District Court for the Southern District of Florida styled as Ricky Aguilera v. The
   Greens and Flowers Connection, LLC, Jonathan A. Nunez, and Jonathan L. Valladares, Case
   Number 21-cv-20418-UU

                 WHEREAS, Aguilera and Defendants desire to settle and resolve the controversies
   between them, including those in the Lawsuit, amicably and expeditiously;

                  NOW, THEREFORE, for the good and valuable consideration set forth herein, it is
   hereby stipulated and agreed by and between the parties that Aguilera
   are resolved as follows:

                 1.      Consideration. On or about March 3, 2019, Aguilera and Defendants
   entered into a written Employment Contract. Within this Employment Contract, specifically
   paragraph 12, was a non-competition term that was a material term to the Employment Contract.

   the promises made herein, Defendants agree, without limitation, to release Aguilera from any non-
   competition term, including but not limited to the term set forth in his March 3, 2019 Employment
   Contract, paragraph 12. This release applies to any alleged past, present, or anticipated violations
   of the non-competition term by Aguilera. In releasing Aguilera from this non-competition term,
   Defendants waive the right and/or ability to file any legal action against, or seek any damages
   from, Aguilera in connection to any alleged past, present, or anticipated violations of the non-
   competition term. Specifically, Defendants remise, release, acquit, satisfy, and forever discharge
   Aguilera, of and from all actions, causes of action, suits, debts, dues, sums of money, accounts,
   reckonings, bonds, bills, specialties, covenants, contracts, controversies, agreements, promises,
   obligations, variances, trespasses, damages, injuries, illnesses, complications, judgments,
   executions, grievances, disputes, costs,              fees, claims and demands whatsoever, in law
   or in equity, which the Defendants ever had, now have, or may have, against Aguilera in
   connection to, or growing out of, any non-competition term. No other monies or compensation
   will be tendered to Aguilera under the terms of this Agreement.




   fees and costs to be paid by Defendants over the course of a payment plan.


                                              Parties will submit a Joint Motion for Approval of
Case 1:21-cv-20418-CMA Document 27-2 Entered on FLSD Docket 04/28/2021 Page 2 of 8




              ees and costs will be due within fifteen (15) calendar days of issuance of that Order
   where each future payment will be due thirty (30) days after the prior payment.

           If, after conferral, the Parties are unable to come to an agreement regarding the amount of

   Costs with supporting documentation for the Court to determine
   fees and costs. The Parties agree to be bound by


   fifteen (15) calendar days of issuance of that Order where each future payment will be due thirty
   (30) days after the prior payment.

                    The terms and conditions set forth in this Paragraph 1 are in full and final settlement
   and resolution of any and all claims which Aguilera had, has or may have against Defendants
   arising out of or in any way connected with his employment with Defendants, and/or the
   termination of said employment, as of the date of the execution of this Agreement. Each party
   shall bear his/its own fees and costs, except as provided for herein.

                   If Defendants fail to make payment as required under Paragraph 1
   fees and costs, or otherwise breaches this Agreement, Aguilera
                                   l, via email, to Lawrence Besser, Esq.: lbesseresq@yahoo.com. The
   notice shall state the specific default alleged. Defendants shall have three (3) calendar days, after
   the notice of default is sent to                 counsel, in which to cure any default. If the missing
   payment is not rectified within the three (3) calendar days cure period, then Aguilera
   will be entitled to the outstanding
   and apart from the outstanding amount, incurred in bringing Defendants into compliance.

                   3.      No Consideration Absent Execution of this Agreement. Aguilera
   understands and agrees he would not receive the release s                           above, except
   for his execution of this Agreement and the fulfillment of the promises contained herein.

                   4.      Release of All Claims.

                           a.       General Release of All Claims. Aguilera knowingly and
   voluntarily releases and forever discharges Defendants and its heirs, executors, administrators,
   successors, assigns, parent corporations, affiliates, subsidiaries, divisions, predecessors, insurers,
   co-employers, and their current and former employees, attorneys, officers, directors, board
   members, members, shareholders, partners, owners and agents, both individually and in their
   business capacities, and their employee benefit plans and programs and their administrators and
   fiduciaries (collectively referred to throughout the remainder of this Agreement as
                              ), of and from any and all claims, known and unknown, asserted or
   unasserted, which Aguilera had, has, or may have against Releasees as of the date of execution of
   this Agreement in connection with his employment with Defendants and/or the termination of said
   employment, including, but not limited to, any alleged violation of:
                           Title VII of the Civil Rights Act of 1964;
                           Sections 1981 through 1988 of Title 42 of the United States Code;



                                                                                                          2
Case 1:21-cv-20418-CMA Document 27-2 Entered on FLSD Docket 04/28/2021 Page 3 of 8




                          The Employee Retirement Income Security Act of 1974 (
                          modified below);

                          The Immigration Reform and Control Act;


                          The

                          The Workers Adjustment and Retraining Notification Act;
                          The Fair Credit Reporting Act;
                          The Genetic Information Nondiscrimination Act of 2008;
                          The Occupational Safety and Health
                          The Equal Pay Act;
                          Florida Civil Rights Act Fla. Stat. § 760.01 et seq.;
                          Florida Whistle Blower Act Fla. Stat. § 448.101 et seq.;
                          Florida Statutory Provision Regarding Retaliation/Discrimination for Filing
                                                  ion Claim Fla. Stat. § 440.205;
                          Florida Wage Discrimination Law Fla. Stat. § 448.07;
                          Florida Equal Pay Law Fla. Stat. § 725.07 and Fla. Stat. Ann. § 448.07;
                          Florida AIDS Act Fla. Stat. § 110.1125, § 381.00 and § 760.50;
                          Florida Domestic Violence Leave Law;
                          Florida Preservation and Protection of the Right to Keep and Bear Arms in
                          Vehicles Act;
                          Florida Discrimination on the Basis of Sickle Cell Trait Law Fla. Stat. §
                          448.075 et seq.
                          Florida OSHA Fla. Stat. Ann. § 442.018(2);
                          Florida Wage Payment Laws;
                          Any Wage Theft Ordinance;
                          Any other federal, state or local law, rule, regulation, or ordinance;
                          Any public policy, contract, tort, or common law;
                          Any claim for unpaid commissions or for fees under Fla. Stat. § 448.08;
                          and/or
                          A
                          fees incurred in these matters.

            Defendants' General Release of Plaintiff. Defendants, including their past and present
   principals, predecessors, successors and assigns, parent corporations, subsidiary corporations,
   affiliated corporations, insurers and agents, administrators and representatives, hereby
   unconditionally release, acquit and forever absolutely discharge Plaintiff and his heirs, executors,
   administrators, representatives, agents, insurers, successors and assigns, from any and all actions,
   causes of action, claims, debts, disabilities, accounts, demands, damages, claims for
   indemnification or contributions, costs, expenses or fees whatsoever, whether known or unknown,
   certain or speculative, asserted or unasserted, which the Defendants have, may have, or may have
   had against the Plaintiff from the beginning of the world until the day of this release.




                                                                                                      3
Case 1:21-cv-20418-CMA Document 27-2 Entered on FLSD Docket 04/28/2021 Page 4 of 8




                           b.    Claims Not Released. Notwithstanding anything to the contrary,
   Aguilera is not in this Agreement waiving any rights he may have to: (a) his own vested accrued
   employee benefits under               health, welfare, or retirement benefit plans; (b) benefits
                                                              compensation and/or unemployment
   compensation statutes; (c) pursue claims which, by law, cannot be waived by signing this
   Agreement; (d) enforce this Agreement; and/or (e) challenge the validity of this Agreement.

                          c.      Governmental Agencies. Nothing in this Agreement prohibits or
   prevents Aguilera from filing a charge with or participating, testifying, or assisting in any
   investigation, hearing, or other proceeding before any federal, state, or local government agency.
   However, to the maximum extent permitted by law, Aguilera agrees that if such an administrative
   claim is made, Aguilera shall not be entitled to recover any individual monetary relief or other
   individual remedies.

                   5.      Acknowledgments and Affirmations. Aguilera has not filed, caused to be
   filed, or presently has filed or intends to be a party to any claim against Releasees, except for the
   Lawsuit, which Aguilera has agreed to dismiss with prejudice pursuant to this Agreement.

                  Aguilera further affirms that he has no known but unreported workplace injuries or
   occupational diseases.

                    Aguilera affirms that                      decisions regarding his pay and benefits
   through the date of execution of this Agreement were not discriminatory based on disability, race,
   color, sex, religion, national origin or any other classification protected by law.

                   Aguilera further affirms that he has not been retaliated against for reporting or
   objecting to any allegations of wrongdoing by                                                  or
   officers, including any allegations of corporate fraud.

                  Aguilera affirms that, other than the other parties in the Lawsuit, he has no
   knowledge of any other employee of Defendants or any of the Releasees that has or may have a
   cognizable claim against Defendants or any other Releasee, and Aguilera has no information that
   Defendants has engaged in any conduct that may give rise to a cognizable claim by anyone.

                   Releasees and Aguilera affirm that there was no undue influence, overreaching,
   collusion or intimidation in reaching this Agreement.

                 Aguilera warrants that he is not a Medicare beneficiary as of the date of this release.
   Because Aguilera is not a Medicare recipient as of the date of this release, no conditional payments
   have been made by Medicare for the treatment of bodily injury or emotional distress in connection
   with his employment with Releasees.

                   Aguilera will indemnify, defend and hold Releasees harmless from any and all
   claims, liens, Medicare conditional payments and rights to payment, known and unknown. If any
   governmental entity, or anyone acting on behalf of any governmental entity, seeks damages
   including multiple damages from any Releasee relating to payment by such governmental entity,
   or anyone acting on behalf of any governmental entity, relating to Aguilera


                                                                                                       4
Case 1:21-cv-20418-CMA Document 27-2 Entered on FLSD Docket 04/28/2021 Page 5 of 8




   claims or lawsuit, Aguilera will defend and indemnify Releasees, and hold them harmless from
   any and all such damages, claims, liens, Medicare conditional payments and rights to payment,


                 6.      Mutual Non-disparagement and Neutral Job Reference. Defendants
   and Aguilera both affirm that neither will not make maliciously demeaning, disparaging, and/or

   owners, shareholders, partners, officers, directors, advisors, managers, members, staff or any other
   agents affiliated with Defendants) in any medium, including social media. Defendants and
   Aguilera both further agree that they will not make any public statements to the press, which
   includes, but is not limited to, newspapers, magazines, periodicals, television and cable networks,
   and encompasses all mediums, including electronic mediums, concerning Aguilera employment
   with Defendants (including, but not limited to, the cessation of his employment). In addition,
   Defendants and Aguilera both agree that neither
   business capabilities, products, plans, or management to any client, potential client, vendor,
   supplier, contractor or subcontractor of Releasees so as to affect adversely the good will or business
   of Releasees. In signing this Agreement, Defendants and Aguilera both acknowledge that this
   provision is a material term and that breach of this provision constitutes a breach of this
   Agreement.

                  7.       Non-admission of Wrongdoing. The Parties agree that neither this
   Agreement nor the furnishing of the consideration for this Agreement shall be deemed or construed
   at any time for any purpose as an admission by Defendants and/or Releasees of wrongdoing or
   evidence of any liability or unlawful conduct of any kind.

                    8.     Application/Potential Re-Hire. In the event Aguilera applies for
   employment with Defendants (or any other Releasee) in any capacity, Aguilera acknowledges that
   Defendants and any other Releasee has no duty to consider his for re-hire and he acknowledges he
   is not eligible for re-hire due to irreconcilable differences. In the event Aguilera is somehow re-
   hired by Defendants or any Releasee contrary to this Paragraph, Aguilera agrees he may
   immediately be terminated.

                 9.     Governing Law. This Agreement shall be governed and interpreted in
   accordance the laws of the State of Florida. In the event of a breach of any provision of this
   Agreement, any party may institute an action specifically to enforce any term or terms of this
   Agreement and/or to seek any damages for breach. The prevailing party in an action to enforce

   appellate levels) from the non-prevailing party.

                   10.    Amendment. This Agreement may not be modified, altered or changed
   except in writing and signed by both Parties wherein specific reference is made to this Agreement.

                  11.      Entire Agreement. This Agreement sets forth the entire agreement
   between the Parties hereto, and the Parties agree this Agreement fully supersedes any prior
   agreements or understandings between the Parties. Aguilera acknowledges that he has not relied
   on any representations, promises, or agreements of any kind made to his in connection with his
   decision to accept this Agreement.


                                                                                                       5
Case 1:21-cv-20418-CMA Document 27-2 Entered on FLSD Docket 04/28/2021 Page 6 of 8




                   12.     Third Party Beneficiaries. Aguilera agrees that all Releasees shall be
   deemed third party beneficiaries for purposes of the protections offered by this Agreement and
   shall be entitled to enforce this Agreement.

                   13.    Severability. In the event any provision of this Agreement shall be invalid,
   illegal or unenforceable in any respect, such a provision shall be considered separate and severable
   from the remaining provisions of this Agreement, and the validity, legality or enforceability of any
   of the remaining provisions of this Agreement shall not be affected or impaired by such provision.
   Any provision voided by operation of the foregoing shall be rewritten by the Court and replaced
   with provisions which shall be as close to the parties original intent as permitted by applicable
   law and, as so modified, shall be deemed to be part of this Agreement. If any portion of the release
   in Paragraph 4 is found to be unenforceable, Aguilera agrees to execute a replacement release as
   broad as the Court will permit.

                  14.    Counterparts. This Agreement may be executed in separate counterparts,
   each of which will be deemed to be an original and all of which taken together will constitute one
   and the same agreement. Facsimiles or electronic copies of signatures, including PDF copies, shall
   be deemed as effective as an original.

                   15.     No Strict Construction. The language used in this Agreement shall be
   deemed to be the language mutually chosen by the Parties to reflect their mutual intent, and no
   doctrine of strict construction shall be applied against any Party.




                                   [this space left intentionally blank]




                                                                                                      6
Case 1:21-cv-20418-CMA Document 27-2 Entered on FLSD Docket 04/28/2021 Page 7 of 8




         AGUILERA ALSO IS ADVISED TO CONSULT WITH AN ATTORNEY PRIOR
   TO SIGNING THIS AGREEMENT AND AGUILERA AFFIRMS THAT AGUILERA HAS
   CONSULTED WITH HIS ATTORNEYS PRIOR TO SIGNING THIS AGREEMENT.
   AGUILERA FREELY AND KNOWINGLY, AND AFTER DUE CONSIDERATION,
   ENTERS INTO THIS AGREEMENT INTENDING TO WAIVE, SETTLE AND RELEASE
   ALL CLAIMS AGUILERA HAS OR MIGHT HAVE AGAINST RELEASEES AS OF THE
   DATE AGUILERA SIGNS THIS AGREEMENT.


     RICKY AGUILERA                          The Greens and Flowers Connection, LLC
                                             By:_________________________________
                                             Print Name: __________________________
     By:_________________________________
     Ricky Aguilera                          Date: _______________________________

     Date: _______________________________

                                             Jonathan A. Nunez

                                             By:_________________________________
                                             Jonathan A. Nunez
                                             Date:___________________


                                             Jonathan L. Valladares

                                             By:_________________________________

                                             Jonathan L. Valladares
                                             Date:___________________




                                                                                  7
Case 1:21-cv-20418-CMA Document 27-2 Entered on FLSD Docket 04/28/2021 Page 8 of 8
